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  OFFICIAL ACTION                 OF THE DALLAS                      CITY COUNCIL


  FEBRUARY 25            2015



  15-0409



  Item   77         Authorize the City of Dallas Housing                                   Finance       Corporation          DHFC           to      make
                    a    development            loan to AmeriSouth Realty                          Group and or              its   successors          and

                    assigns to a to be formed limited partnership                                          in   the    amount        not   to   exceed

                    2520 000              with       a    term      of 15       years       with     a   30     year    amortization            and an

                    interest       rate   of    3        with the        DHFC        as a   Conduit Lender with funds provided

                    by    the     Richman         Group           for the       Royal Crest Apartments                       as    an integral part

                    of    its    Texas Department                  of Housing           and       Community            Affairs       9     tax       credit

                    application            for       the     2015          Funding            Year       under        the     Commitment                 of

                    Development                 Funding           from     a    Local       Political         Subdivision           under       Section

                     11 9       d 2 BCD                     for
                                                                  up to        14 points and         under Section                119 d1             Local

                    Government                Support        by     providing          a    resolution          of support          voted       on     and

                    adopted         by    the   local      governing           body     for   up to 17 points            as part      of the Texas

                    Department             of     Housing            Community                Affairs         TDHCA                2015    Qualified

                    Allocation            Plan       QAP           under        specified         conditions           and providing             a firm

                    commitment              in this resolution                 for   Royal        Crest    Apartments              located      at   3558

                    Wilhurt          Dallas              Texas           75217             TDHCA           Application              No       15279

                    Financing            No     cost     consideration           to the      City



  In   accordance    with        Section        713       of the         City Council             Rules       of Procedure            Motions            to

  Approve Designated             Zoning Cases and Designated                          Public Subsidy Matters City Secretary

  Rios   read the following certification                   into    the    record



         By   making and seconding                   this   motion         the    councilmembers                 represent         they have

         undertaken       sufficient          examination                and     involvement               beyond       reviewing            the

                                    to    be knowledgeable                     of both      the    facts   and    the       circumstances
         agenda materials
         of the case     and to be able to develop                        an opinion based                on such an         examination

         of the various         factors   and issues involved



  Councilmember Davis moved                     to   adopt the item



  Motion      seconded     by     Councilmember                   Hill    and    Councilmember Kadane and                             unanimously

  adopted      Caraway          absent




  OFFICE OF THE CITY SECRETARY                                                                            CITY OF DALLAS TEXAS
